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                              UNITED STATES DISTRICT COURT
                             FOR THE I)ISTRICT OF NEW JERSEY




  SAM I IARGROVE. ANI)RE HALL and                          Civil Action No. 10-1138 (PGS)
  MARCo EUSEBTO. individual lv and on
  behalf of all others similarly situated.

                    Plaintiffs,
                                                                       ORDER
                        V.


  SLEEPY’S. LLC,

                   Defendant.



       This matter comes before the Court by defendant’s motion for default judgment as to ‘cross

claimants’, I Stealth, LLC, Eusebio’s Trucking, and Curva Trucking, and defendant’s motion for

attorney fees and costs as the prevailing party against plaintiff’s ERISA claim. The Court has

considered the parties’ written submissions and for the reasons set forth on the record.

       IT IS on this 27th day of April, 2012

       ORDERED that the defendant’s motion for attorneys fees and costs is I)ENIED (ECF No.

88): and defendant’s motion for default judgment is DENIED (ECF No. 92); and it is further

       ORDERED that the Clerk is directed to close this case.




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                                                                 V
April 27. 2012                                       PETER G. SHERIDAN. U.S.D.J.
